          Case 2:21-cv-06320-MCS-JC Document 99 Filed 12/15/21 Page 1 of 5 Page ID #:814
  Name and address:
               Mitchell A. Kamin (Bar No. 202788)
                    Covington & Burling LLP
               1999 Avenue of the Stars, Suite 3500
                  Los Angeles, CA 90067-4643
                          424-332-4800

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                            CASE NUMBER
 Mosafer Inc., et al.
                                                         Plaintiff(s),                          22t -cv-06320-MCS-)C

                   V.
                                                                             APPLICATION OFNON-RESIDENT ATTORNEY
 Elliot Broidy, et al.                                                            TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                       PRO HAC VICE

 INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hoc vice must complete Section 1 ofthis Application, personally sign, in ink, die certificntion in
    Section 11, and have the designated Local Caunse!sign in Settimt III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate ofGood Standing (issued within the last 30
    days)from every state bar to which he or she is ndmitted;fnilure to do so will be groundsfor denying tEie Appllcatian. Scnn the
    completed Applicntimi with its original ink signature, together with nny attachment(s), to a single Portable Document Format(PDF)file.
(2) Have Nie designated Local Counselfrle the Application electronically using the Court's electronicfiling system ("Motimts and Related
    Filings => Applications/Ex Porte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)), attach a Proposed Order
   (using Form G-64 ORDER, availablefrom the Court's website), and pay the required $500fee online at the time affiling (using a credit
    card). Thefee is requiredfor each case in which the applicantfiles an Applicatimi. Failure to pay thejee at the time offiling will be
    groundsfor denying dteApplitation. Ottt-of-stnfefederal governtuentattorneys are not required to pay the $500fee. (Certain
    attorneysfor the United States are also exemptfrom the requirement ofapplyingfor pro hne vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfectforma[ must be emailed to the generic chambers email address. L.R. 5-4.91.
SECTION I -INFORMATION

 Berea out Alexander A.
 Applicant's Name (Last Nnme, First Name e~ Middle Initial)                                      check here iffederal gavernn~ent attorney ❑
 Covington &Burling LLP
 Firm/Agenry Nnme
 One CityCenter                                                          202-662-6000                        202-662-6291
850 Tenth Street NW                                                      Telephone Number                    Fax Number
 Street Address
                  DC 20001                                                                    abereneautCacov.com
 City, State, Zip Cade                                                                           E-mail Address

I have been retained to represent the following parties:
State of Oatar                                                             Plaintiffs) ~ Defendant(sJ Q Other: Counterclaim-Defendant
                                                                           Plaintiffs) ~ Defendant(s) ~ Other:
 Names)ofParty(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name o Court                         Date ofAdmission           Active Member in Good Stariding?jif not please explain)
 New York State                                             12/9/2008             Yes

 Wash'n t         DC                                        S/10!2009             Yes

 U.S. Dist. Ct. for the Dist. of Columbia                   1 1/7/2011            Yes


G-fi4 (f19/20J            APPLICATION OFNON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC NCE                               Page i of3
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 List all cases in which the applicant has applied to this Court for pro hnc vice status in the previous three years (continue in Section IV if
 needed):
         Case Number                                     Title ofActian                             Dateo A lieation          Grunted/Denied?




  t anypro nac vice appucauons submitted w~tmn me past mree ~~) years nave been aenletl by me Gourt,




A ttorneys must be registeredfor the Court's electronicfiling system to practice pro hoc vice in this Court. Submission
ofthis Application will constitute your registration (or re-registration) to use that system. If khe Court signs an Order
granting your Application, visit www,pacer.gov to complete the registration process a~ad activate your efiling
privileges in the Central District of California.

           SECTION II -CERTIFICATION

           I declare under penalty of perjury that:

          (1) All of the above information is true and correct.
          (2} I am not a resident of the State of California. I am not regularly employed in, or engaged in
              substantial business, professional, or other activities in the State of California.
          (3) I am not currently suspended from and have never been disbarred from practice in any court.
          (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
              Criminal Procedure, and the Federal Rules of Evidence.
          (S) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
              of this Court and maintains an office in the Central District of California for the practice of law, in
              which the attorney is physically present on a regular basis to conduct business, as local counsel
              pursuant to Local Rule 83-2.1.3.4.

               Dated   ~~I {~ ~~'~                                    Alexander A. Bereneau
                                                                      Applicant's Name (please type or print)


                                                                     Applica~u's Sigimnme


G~64 (09/20)               APP6ICATION OP NON-RCSIDEN7ATTORNEY TO AYYEAR IN ASPECIFIC CASL~PRO HAC VECL•                              Page2of3
       Case 2:21-cv-06320-MCS-JC Document 99 Filed 12/15/21 Page 3 of 5 Page ID #:816


  SECTION I[I - DESIGNATION OF LOCAL COUNSEL

   Kamin, Mitchell A.
   Designee's Name(Last Name, First Name 6 Middle Liitial)
   Covington &Burling LLP
   Firm/Agency Name
    1999 Avenue of the Stars, Suite 3500                           424-332-4800                          424-332-4749
                                                                   Telephone Number                      Fax Num her

   Street Address                                                  MKamin@cov.com

   Los Angeles, CA 90067-4643                                      Emafl Address

   City, State, Zlp Code                                           202788
                                                                   Designee's California State Bar Number

  t hereby consent to[he foregoing designation as local counsel,end declare under penalty of perjury that I maintain an office In the
  Central DIstrlct of California fo the practice oflaw,in which I nm physically present on a regular basis to conduct business.
              Dated        L (~~Z                                  Mitchell A. Kamin
                                                                   Des? e's Name(lease type ar prin t)

                                                                                     ~  _
                                                                    esignee's Signature

 SECTION[V -SUPPLEMENT ANSWERS HERE(ATTACH ADDITIONAL PAGES IF NECESSARY)

               Courts Where Admitted:


   U.S. Court of Appeals far the D.C. Circuit: 9/16/2013; yes.
  U.S. Court of Appeals for the Second Circuit: 8112/2014; yes.
  U.S. Court of Appeals For the Ninth Circuit: 8/8/2016; yes.
  U.S. Court ofAppeals for the Thud Circuit: 9/4/2019; yes.
  U.S. Supreme Court: 1110912015; yes.




G64(09120)                 APPLICATION OFNON-RESIDENT ATT011NEY TO APPEAR IN A SPECIFIC CASE PRO FfAC VICE                     Pags J of J
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      On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                      the District of Columbia Bar does hereby certify that


                    ~/                                               /



           wes duly qualified and admitted on August I Q 2009 es an attorney end counselor entitled [o
                        prectice before this Court; end is, on the date indicated below, e(n)
                                  ACTIVE member in good standing of this Ber.




                                                                              In Testimony Whereof,
                                                                          I have hereunto subscribed my
                                                                          name and affixed the seal of this
                                                                               Court at the City of
                                                                          Washington, D.C., on December
                                                                                        8,2021.

                                                                                        ~t ~~~+
                                                                                NLIO A. CASTILLO
                                                                                 Clerk of the Court




                                                                                     / ~~~
                                                                                     v ~~
                                                                     Issued By:
                                                                              DisVicl of Columbia Bar Membership



   For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                       mem berservices@dcbacorg.
Case 2:21-cv-06320-MCS-JC Document 99 Filed 12/15/21 Page 5 of 5 Page ID #:818




                .appellate Division of the Supreme Court
                        ofthe State ofNetiv york
                       ~hirdJudiciaC Department

          I, Robert D. 9vtay6erger, CCerk of the .r'~ppeCCate Division of
     the Supreme Court of the State of Netiv York, 2Tiird JudiciaC
     Department, do hereby cert~ that

                  ~lCexander .~ldeCman Berengaut
     tivas duCy Licensed and admitted to practice as an .attorney and
      CounseCor at La1v in aCC the courts of this State on December g,
    zoo8, bias duCy taken andsubscribed the oath of office prescri6ecC
    6y Cativ, has been enroCCedin the RoCCof.2Lttorneys andCounseCors
     at Lativ on fife in this office, is duCy registered tivith the
    .administration Office ofthe Courts, and according to the records
     of this Court is currentCy in good standing as an .2lttorney and
     CounseCor-at-Latin.


                               In tiVitness 1Nhereof,I have hereunto set
                               my hand in the City of .s'1C6any on
                               December g, zozi.


                                 ~~-~~~~~
                                     CCerk ofthe Court


     CertlD-0004413z
